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                   BEFORE THE UNITED STATES JUDICAL PANEL
                        ON MULTIDISTRICT LITIGATION



   In re: Oral Phenylephrine Marketing and
           Sales Practices Litigation                                   MDL-3089




                                  Schedule of Related Actions

Case Caption            Court                     Civil Action No.         Judge
Scoffier v. Reckitt
Benckiser
                        District of New Jersey      No. 2:23-cv-20529        Hon. Evelyn Padin
Pharmaceuticals Inc.,
et al.
Boonparn v. Reckitt     Eastern District of New
                                                     No.1:23-cv-06936       Hon. Pamela K. Chen
Benckiser, et al.                York
Nyanjom v. Reckitt
Benckiser                                           No. 2:23-cv-02426
                          District of Kansas                                Hon. Holly L. Teeter
Pharmaceuticals Inc.,
et al.
Parker v. Bayer           Eastern District of
Corporation, et al.                                 No. 2:23-cv-03663       Hon. Kai Niambi Scott
                            Pennsylvania
